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 1 James A. Dumas (SBN 76284)
 2 Christian T. Kim (SBN 23101 7)
   DUMAS & KIM, APC.
 3 3435 Wilshire Blvd., Ste. 990
   Los Angeles, CA 90010
 4 Email: jdumas@dumas-law.com
 5 Telephone: 213/368-5000
   Facsimile: 213/368-5009
 6
   Attorneys for Creditor, NOA Productions, SPRL
 7
                            UNITED STATES BANKRUPTCY COURT
 8
 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                SAN FERNANDO VALLEY DIVISION
11
12    In re:                                              Case No.: 1:18-bk-10098-MB [Jointly
                                                          Administered]
13    PENTHOUSE GLOBAL MEDIA, INC.,
                                                          [Chapter 11]
14                      Debtor.
                                                          [Honorable Martin R. Barash]
15

16                                                        REQUEST FOR ALLOWANCE OF
                                                          ADMINISTRATIVE CLAIM
17

18                                                        Date: TBD
                                                          Time: TBD
19                                                        Place: United States Bankruptcy Court
                                                          21041 Burbank Blvd, Courtroom 303
20                                                        Woodland Hills, CA 91367
21
               Please take notice that NOA Productions SPRL, whose address and telephone number are
22
23    Avenue Montjoie, 84, 1180 Brussels- Belgium +32.2.375.99.10, holds an administrative claim

24    pursuant to 11 U.S.C. § 503 as follows:

               Name ofDebtor(s) liable on claims: Penthouse Global Broadcasting, Inc.
25
               Amount of Administrative Claim: $675,120.00
26
               Basis of Administrative Claim: Sales Commission- Please see attachment plus exhibits
27

28

                                                      1
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 1           Payment and/or notices/objections should be sent/directed to:

 2           DUMAS & KIM, APC.

 3           3435 Wilshire Blvd., Ste. 990

 4           Los Angeles, CA 90010

 5    Dated: October 18, 2018

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 ATIACHMENT TO REQUEST FOR PAYMENT OF ADMINISTRATIVE EXPENSE OF NOA PRODUCTIONS SPRL
 ("NOA11 )

 This request for payment of administrative expense is based on the POMP/NOA Productions Restated
 and Amended Sales Agent Agreement ("the Sales Agent Agreement11 ) dated September 30, 2010 and
 attached hereto as Exhibit A. Pursuant to the Sales Agent Agreement NOA Productions was to receive a
 commission equal to 25% of gross receipts received by POMP from telecom broadcasters/operators
 ("Platforms11 ) procured for POMP by NOA. The Sales Agent Agreement expired on January 31, 2014 but
 commissions on sales revenue received after termination remained due until the expiration of the
 relevant broadcast contract with a platform. If any broadcast contract would be extended or renewed
 during a five-year period after termination, NOA would be entitled to commissions until the expiration
 of such extended or renewed contract. POMP had an obligation to provide periodic reports to NOA
 regarding the revenue it was receiving from the Platforms that was subject to the obligation to pay
 commissions.

 As it concerns pre-petition commissions that have been due to NOA, the claim for commissions which
 were unpaid is set forth in NOA's proof of claim which was filed on July 2, 2018. This proof of claim also
 contains an estimation of the administrative claim as of that date. The proof of claim explains how
 Penthouse Global Broadcasting assumed the obligations of Penthouse Digital Media Productions under
 the Sales Agent Agreement. As it concerns income received post-petition that is subject to NOA's claim
 for commissions, this income was received by Penthouse Global Broadcasting.

 Based on the information provided in the PGB Monthly Operating Reports, NOA believes that through
 August 31, 2018, the sum of between $342,636 and $675,120 is immediately due and payable by the
 Penthouse consolidated bankruptcy estate to NOA. A schedule of post-petition payments received by
PGB for which commissions are due is set forth on Exhibit B hereto. The uncertainty in the amount due
to the fact that deposits into Account EWB-3852 are not always identified. The obligation to pay the
commissions was an ongoing liability that was assumed by the assignee of the broadcast contracts in
 connection with that certain sale of substantially all of the assets of the consolidated debtors that was
approved by the order entered June 14, 2018.

Attached hereto as Exhibit C is a list of the Platforms prncured for Penthouse by NOA.

Based on (1) the cessation of the operations of Penthouse Digital Media Productions, (2) the assignment
of revenue due POMP to Penthouse Global Broadcasting, (3) the assumption, without notice to or the
permission of NOA, of the PDMP's obligation to pay commissions by PGB, (4) the longstanding pattern
and practice by Penthouse management of treating POMP, PGB, and Penthouse Global Media as if they
were effectively one entity, and (5) the consolidation of the bankruptcies of these entities in these
proceedings, POMP, PGB, and PGM are collectively responsible for payment of the within claim.
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               EXHIBIT "A"




               EXHIBIT "A"
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                                               POMP/NOA PRODUCTIONS
                                               RESTATED AND AMENDED
                                              SALES AGENT AGREEMENT
                                                                                              1JOR1G\NAL
       THIS   1st   AMENDED AND RESTATED CONTRACT (the "Agreement"), is made and entered into as of
                                                                          th
  September 30, 2010 ("Agreement Date") and is effective as of 30 day of January 2010 ("Effective Date"),
  by and between NOA Productions SPRL ("Agent") with an address of Avenue Montjoie, 84, 1180 Brussels,
  Belgium and Penthouse Digital Media Productions, Inc. ("POMP") with an address of 6800 Broken Sound
  Parkway NW, Suite 200, Boca Raton, FL 33487, USA and shall, as of the Effective Date, restate, amend and
  replace in its entirety that certain Sales Agent Agreement by and between the parties dated February 1, 2007
  ("Sales Agent Agreement").

                                                       RECITALS

  WHEREAS, the parties are desirous of extending the services of Agent and other Agent related actiVities;

  WHEREAS, the parties wish to amend and restate the Sales Agent Agreement as set forth herein below; and

  WHEREAS, the terms and conditions noted herein shall apply as from (and not prior to) the Effective Date;

  WHEREAS, existing sales completed by Agent prior to the Effective Date will be subject to the terms of the
  Sales Agent Agreement:

  NOW, THEREFORE, in consideration of the mutual undertakings herein contained, the parties hereto agree
  as follows:

                                                       AGREEMENT

  1.   Term: The term of this Agreement ("Term") shall commence upon the Effective Date and shalt continue
       until January 31, 2014, unless sooner terminated as provided herein. This Agreement shall be extended
       for successive periods of three (3) years, subject to .the written agreement of the parties at any time prior
       to the then current Term. Agent shall have (60) days following the expiration of the Term to complete any
       Prospective Sale commenced prior to the expiration of the Term provided that PDMP authorized such
       Prospective Sale. Any extension of time of this Agreement shall also be considered an extension of and
       part of the Term.

 2.    Rights:

       (a) Agent may negotiate sales (also known as "Prospective Sales") on behalf of POMP for exploitation of
           the Channels and PDMP's titles (collectively, the "Pictures") as follows: Broadcast, including linear,
           hospitality oriented broadcast service (i.e. hotels), VODISVOD, IPTV or any other linear forms of
           Broadcast now known or developed in the future (hereafter also, the ''Products"). Such sales, when
           fully executed by PDMP and consummated in a written agreement, are referred to herein as "Sales".
           Other than with respect to the Excepted Parties and the terms and conditions noted herein, Agent's
           rights to conduct its sales representation activities under this Agreement are exclusive in the Territory
           for Broadcast. Agent shall have non-exclusive rights for any Sales outside the Territory and for any
           sales or negotiations related to, multimedia gaming (off deck), Internet or mobile rights (which must
           first be pre-approved in writing by PDMP). POMP shall have no obligation to Agent for Sales or
           activities outside the Territory or otherwise that are obtained through efforts of POMP on its own (and
           not through the Agent) outside the Territory. If third party entitles approach or contact PDMP directly
           where Agent has exclusive rights, POMP shall refer them to Agent for Prospective Sales. Further,
           POMP will coordinate any and all Prospective Sales and sales strategies that would affect Agent and
           Agent's ability to sell Broadcast rights outside the Territory. If Agent rejects or does not pursue a third
           party lead or sale within the Territory as presented by POMP within a reasonable period of time,
           POMP shall be free to pursue such third party without any financial obligation to Agent {e.g. Agent
           waives any commission or payments due related thereto).


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       (b) "Broadcast": means the exhibition, distribution and exploitation of the Picture(s) by conventional, free
           over-the-air or paid television transmission, by VHF and/or UHF, television broadcast stations and
           station groups the video and audio portions which are intended to be intelligibly received without
           charge by means of a standard roof-top or television set contained antenna or other similar means or
           any form of linear broadcast now known or developed in the future. For the purposes of this
           Agreement, Broadcast Rights include the right to sell VOD/SVOD, IPTV and hotel related broadcast
           products.

       (c) "IPTV": means closed systems, like for example cable, satellite and internet protocol ADSL distribution
           limited to subscribers of the related cable or broadcaster systems.

       (d) "Channels": means a linear (i.e., selection, chronological order and play-out of content is
           predetermined and governed by the provider, without end-viewer interactivity) high definition television
           programming service branded as Penthouse HD, Penthouse HD1 and/or Penthouse HD2 (the
           "Service") including any related standard definition playout rights associated therewith, including
           exhibition of the Service in 30 technology (which may or may not be branded as "Penthouse 30").

       (e) "Territory": means continental Europe and its suburb territories including the countries of the European
           Union ("EEC") and Eastern Europe, the CIS countries (CIS territories in respect to potential and
           available rights only) Norway, Switzerland, Iceland, Greenland, Israel/Palestine, Turkey and the
           Maghreb countries. With regard to Spain and Portugal, Agent acknowledges that PDMP has existing
           business relationships which may effect sales in those territories and accordingly, such rights are
           hereby reserved to POMP except any Sales in Spain related to the Channels and to VOD exhibition
           rights (such as Telefonica). Further, regarding any multimedia negotiations or deals originating from
           Agent: Prospective Sales in all European countries must be reviewed in advance on a case by case
           basis by PDMP to avoid any potential conflicts or issues that relate to PDMP's existing agreements
           with third parties.

       (f) Other than POMP, Agent shall not represent any adult brands, adult magazine(s), adult products or
              adult entertainment/content companies in any manner during the Term in the Territory other than
              those companies listed on the attached Exhibit "A" {"Excepted Parties").

       (g) No further amounts will be due Agent in any manner related to that certain license agreement by and
           between POMP and General Satellite Corporation dated June 29, 2009. This clause shall not effect
           Commissions due Agent related to Sales that were under separate agreements (meaning agreements
           that did not have General Satellite Corporation as a party).

  3.   COMMISSIONS:

       (a) Subject to the provisions noted in this Agreement, as sole and complete compensation for the Sales
           other than Gaming Sales, Agent shall receive Twenty Five percent (25%) of Gross Receipts (the
           "Commission").

       (b) For the period of May 19, 2010 to December 31, 2010 ("Bonus Sales Period'') Agent shall also be
           entitled to an additional 5% commission (in addition to the commission noted in 3(a}} for aggregate
           Sales made during the Bonus Sales Period that: (i) are only related to the Channels and Broadcast
           rights: and (ii) provide for an excess of US$1,000,000 in recordable income to POMP (per US
           generally accepted accounting principles[GMP]) each year of the Term.

       (c) Renewals or extensions of Sales consummated prior to the expiration of the Term shall entitle Agent
           to Commission for the duration of the term of the third party contract related to the Sale. Agent shall
           also receive Commission for renewals or extensions of Sales agreements that occur within five (5)
           years following the expiration of the Term (including any extension or renewal thereof) except as
           expressly provided this Agreement. Within 30 days following the end of the Term, Agent shall provide
           its correspondence and files on hand and available related to the Sales and Prospective Sales to
           POMP (e.g. this shall include contact names, documentation, emails, correspondence, etc.). Agent
           shall not be entitled to any compensation or consideration from POMP, its affiliates, clients or other

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           third persons or entities for or otherwise concerning Sales or its activities conducted in connection with
           this Agreement other than the Commissions (including the Commission.son Gaming Sales).

       (d) Agent shall bear its own costs and expenses in connection with its activities conducted in connection
           with this Agreement.

       (e) POMP shall be responsible for all bank transfer fees incurred in transferring any payments to Agent's
           account.

       (f) For any multimedia gaming sales negotiated and obtained by Agent (each a "Gaming Sale" or
           collectively "Gaming Sales"), Agent shall receive a Commission of 30% of Gross Gaming Receipts.

       (g) All payments, fees or commissions to subagents used, contracted by or engaged by Agent are the
           sole and exclusive responsibility and obligation of Agent.

       (h) For clarification purposes, Agent's entitlement for payment shall remain for the entire period for Sales
           made through the Agent during the Term (or other payments as so specifically provided for in
           subparagraph 3(c)), as so specified in this Agreement.

       (i) "Gross Receipts" means all payments derived from Sales actually received by POMP, less any bona
           fide refunds or credits. For purposes of Gross Receipts, amounts received by PDMP's affiliate entities
           shall be considered part of Gross Receipts for purposes of calculating Agent's commission(s).

       (j) "Gross Gaming Receipts" means all payments derived from Gaming Sales actually received by POMP,
           less any bona fide refunds or credits. For purposes of Gross Gaming Receipts, amounts received by
           PDMP's affiliate entities shall be considered part of Gross Gaming Receipts for purposes of calculating
           Agent's commission(s).

 4.    LIMITED SCOPE OF AGENCY: Agent only has authority to propose verbally and/or in writing Prospective
      Sales to third parties, and accordingly, Agent has no authority to bind POMP, its affiliates, parent company
      or subsidiaries in any manner to any type of agreement or otherwise. POMP has the right in its sole
      discretion to accept or reject any Prospective Sale, Sale, Gaming Sale, transaction or client proposed or
      introduced by Agent. POMP also is not obligated to extend to Agent or its staff health insurance, disability,
      other employee benefits or its staff health insurance, life insurance, disability, other employee benefits or
      other perquisites customarily provided to its own employees. PDMP shall provide to Agent at PDMP's
      expense sufficient sales materials such as publicity materials, DVDs or tapes, marketing books, flyers and
      the like for use by Agent solely in connection with this Agreement. For income tax purposes, Agent shall,
      as POMP deems necessary, receive an appropriate tax-related documents for its services as an Agent,
      and Agent shall be responsible for its own taxes associated with its performance of the services and
      receipts of payments pursuant to this Agreement. It is understood that Agent (and Agent's sub-agents) is
      under no obligation to perform, or to guarantee the performance of, any obligations of POMP to its
      prospective customers or clients under any third party sales agreement. It is understood that PDMP shall
      bear all costs of delivery required materials to customers and end users. including, without limitation. any
      applicable taxes unless otherwise agreed between POMP and the customer/end user. POMP will
      reimburse Agent for its actual out-of-pocket expenses which have only been approved in writing in
      advance by POMP. Agent is an independent contractor and is solely responsible for his own office and
      equipment costs and taxes.

 5.   COORDINATION OF EFFORTS:

      (a) Agent shall report to POMP upon identifying Prospective Sales or Gaming Sales on the status of
          prospecting, negotiations for Prospective Sales. Additionally, Agent acknowledges that POMP has prior
          agreements or relationships with third parties that may effect Agent's ability to negotiate or approach
          certain third parties in the Territory and in such circumstances, and to avoid eventual
          conflicts/interpretations, POMP shall use its commercially reasonable efforts to notify Agent about these
          prior agreements accordingly in a reasonable and timely manner_


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 POMP NOA Sales Agent Agrecmo:nt PH FINAL 9-30-10
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       (b) POMP shall provide to Agent copies of all its agreements with customers related to Sales that involved
           Agent as well as of invoices to customers as and when available. Agent also shall be sent copies of: (i)
           PDMP's correspondence with customers that relate to Agent's services under this Agreement; and (ii)
           monthly reports received by POMP related to the Sales.

       (c) Following the end of the Term, PDMP shall promptly provide to Agent copies of all its agreements with
           customers related to Sales (including renewals and extensions) that effect Agent's Commission, as well
           as monthly subscriber reports and copies of invoices to customers only as such information relates to
           the Sales and Agent's Commission.

  6.        PAYMENTS:

            (a) Any payments for Sales shall only be made payable to POMP or its designee. PDMP shall pay Agent
                its Commission within fifteen (15) days of the end of the month in which the Gross Receipts or Gross
                Gaming Receipts giving rise to the Commission are actually received by POMP or its designee. If any
                payments for Sales are received directly by Agent or its designee, the payments are deemed to be
                received and held in constructive trust on behalf of POMP, and shall be immediately remitted to POMP
                without any deductions whatsoever.

        (b) Agent may elect to have payments due Agent under this Agreement made to another entity by signing
            PDMP's form 'letter of direction'.

        (c) Agent is solely and exclusively responsible for any and all tax consequences resulting from the receipt
            of any Commission hereunder.

  7.    DELIVERY OF PICTURES: POMP hereby warrants that it has access to and control of the exploitation for
        and the delivery of elements of the pictures that POMP agrees to deliver via a written third party Sales
        agreement for each Picture. Delivery elements will be agreed by the parties for each Picture.

  8.    POMP'S WARRANTIES:

       a.     POMP hereby represents and warrants that it has full right to enter this Agreement, and that POMP has
              all necessary rights to Pictures licensed pursuant to Sales approved in advance and in writing by
              POMP. PDMP will provide Agent with copies of documents evidencing such rights upon Agent's
              request (POMP's redaction of financial information permitted).

       b.     PDMP hereby agrees and acknowledges that Agent shall have no liability whatsoever to any of the
              artists or other artists or other third party performing services in connection with the Pictures or
              soundtrack, and Agent shall not be responsible for any of PDMP's obligations with regard to third
              parties; all residuals, royalties, deferments and any other payments to third parties shall remain the sole
              responsibility of POMP.

       c.     PDMP represents and warrants that it has obtained all necessary music clearances so that the Pictures
              may be licensed pursuant to Sales approved in advance and in writing by PDMP.

       d. PDMP has written evidence on file, as required under the Child Protection Act, for all persons
          appearing topless, nude or semi-nude or engaging in any sexual activity. PDMP warrants that the
          aforementioned performers are eighteen (18) years of age or older at the time of the production, and in
          accordance with the Child Act, copies of original photo identifications with proof of age are on file.
          Copies of these records shall be provided to third persons and entities consummating Sale requesting
          and requiring them to enable their compliance with record keeping requirements 18 U.S.C. 2257 and of
          C.F.R part 75. Agent acknowledges that POMP shall be responsible for such clients' maintenance of
          their records.

 9.     INDEMNIFICATION:
        POMP shall indemnify, defend and hold Agent (including Agent's employees and subagents) harmless
        from all outside legal fees and costs, expenses and actual damages, including costs and damages
        resulting from judicial proceedings (whether from third parties or otherwise), arising (i) from any breach of
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 PDMP NOA Sales Agent Agrccmeni PH FINAL 9-30-10
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     POMP of its warranties and representations under this Agreement; and/or (ii) from PDMP's breach of this
     Agreement or any other breach of any agreement between POMP and any third party agreement related
     to a Sale or Gaming Sale which is the fault of PDMP (and not due to the fault of Agent) or any other
     wrongful conduct of POMP, and/or (iii} from any third party claim against Agent relating to any Sales or
     Prospective Sales in the absence of any fault or wrongful misconduct from Agent towards the applicable
     third party.

     Agent shall indemnify, defend and hold harmless POMP (including PDMP's employees and
     representatives) from all outside legal fees and costs arising out of Agent's breach of this Agreement or
     other costs, expenses, damages attributable to the breach or any other wrongful conduct of Agent, its
     employees or its subagents.

  10. CONFIDENTIAL INFORMATION:

     (a) As a result of this Agreement and the parties relationship, each party will have access to "confidential
          information" of and about the other party (and the other party's affiliates, which shall be deemed
          included in references to the disclosing party for purposes of this section) and its business. Each party
         agrees that it will not at any time use for its own benefit, directly or indirectly divulge or communicate to
         any person, firm, corporation or entity, any confidential information concerning the other party and its
         business, which was disclosed to or acquired by the receiving party at any time during or prior to the
         commencement of the Term. Each party specifically agrees that all confidential information matters
         affecting or relating to the other party's business obtained during their relationship is deemed to be
         included within the terms of this paragraph and to constitute important, material and confidential trade
         secrets that affect the successful conduct of each party's business and its goodwill. Without limiting
         the forgoing," confidential information" as used herein, means information which includes, but is not
         limited to, the names, buying habits or practices of any the parties' customers and clients; marketing
         methods and related data; the names of any vendors or supplies; costs of materials; the prices POMP
         obtains or has obtained or at which it sells or has sold its products or services; manufacturing and
         sales costs; lists or other written records used in POMP's business; operational, marketing and
         fundraising strategies; compensation paid to employees and other terms of employment,
         merchandising or sales techniques; contracts and licenses; business systems; computer programs; or
         any other confidential information of, about, or concerning the business of each party, its manner of
         operation, or other confidential data of any kind.

    (b) Each party covenants and agrees that it will not (i) use such confidential information, memberships
        lists, records, or systems except in furtherance of the other party's interests and its rendering of their
        requisite performance hereunder; or (ii) disclose to third persons or entities such confidential
        information who are not bound by confidentiality as so denoted hereunder.

    (c) A party's disclosure of confidential information as required by law shall not constitute a breach of this
        Agreement, provided that the disclosing party (i) promptly notifies the non-disclosing party in writing of
        such requirement (unless such notification violates the order of a governmental body or is otherwise
        prohibited by law); (ii) cooperates with non-disclosing party in efforts to obtain a protective order or
        other appropriate remedy to protect confidential information against unauthorized use or disclosure, at
        the non-disclosing party's request and expense; and required.

    (d) If party's so request to each other, each of the party's promptly shall return to the requiring party, or
        destroy, or irretrievably delete, as specified by each of the party's, any and all of the requiring party's
        confidential information, and documents which contain such information, together with all copies,
        extracts, notes or summaries thereof.

    (e) Any and all confidentiality obligations of the parties shall continue for 5 years following the termination
        of this Agreement.

 11. JACKY WAUTERS IS AGENT "KEY MAN":

    (a) Agent understands and agrees that PDMP has entered into this Agreement because it will furnish the
 ;;:~; ~z::::::~~::~:f'.::k:1::~::rs ("Wauters"), who is personalty and un~uely qualffied to render the ~
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              services noted hereunder on behalf of Agent. Accordingly, Agent agrees that only Wauters_will provide
              such services to POMP on Agent's behalf pursuant to this Agreement. Without limiting the provisions
              of the prior sentence Wauters may be assisted by employees of Agent and subagents engaged by
              Agent so long as: (i) the subagents and employees are performing only incidental services; and (ii)
              Wauters is solely supervising all activities of the subagents and employees and that Wauters retains
              approval on all decision making activities related to the employees and subagents. Agent may not
              assign, delegate or transfer its obligations under this Agreement without the prior written approval of
              POMP. POMP may assign or otherwise transfer this Agreement to its affiliates, subsidiaries or other
              successors of POMP. Any purported assignment, transfer or delegation in violation of this provision
              shall be void. Should Jacky Wauters be unable to perform the services due to his death, permanent
              disability or other permanent incapacitation (that is medically documented), POMP may terminate this
              Agreement immediately upon written notice to Agent without further liability, but for clarification
              purposes, the Agent's entitlement for payments shall remain as provided by Paragraph 3
              hereinabove. Agent agrees to ensure that Jacky Wauters will enable Agent to comply with all
              intellectual property, confidentiality and other provisions of this Agreement

      (b) Notwithstanding the foregoing, Agent may utilize the services of sub-agents, subject to the following
          provisions and conditions: (i) Jacky Wauters remains the primary contact for third party licens.ees with
          regard to maintenance of the account; (ii) Agent is solely and exclusively responsible for any
          expenses or compensation related to the use of such sub-agents; (iii) Agent ensures that any and all
          sub-agents agree to the applicable obligations and parameters noted in the Sales Agent Agreement,
          including without limitation, the confidentiality and indemnification provisions; and (iv) Agent shall
          defend, indemnify and hold harmless POMP from any and all claims related to any action or inaction of
          the sub~agents.

      (c) With regard to this Agreement, the following provisions are applicable:

                         (i) in the event of the disability or incapacitation of Jacky Wauters (that is medically
                              documented), Agent's entitlement to the compensation noted herein shall remain
                              intact pursuant to the terms and conditions of the Agreement;
                         (ii) Notwithstanding (c)(i) above, in the event of the death, permanent disability or
                              permanent incapacity of Jacky Wauters (as medically documented), PDMP's rights to
                              terminate this Agreement shall remain in full force and effect.

 12. TERMINATION:

      (a) Notwithstanding the provisions of Paragraph 1, POMP may terminate this Agreement immediately
          upon written notice to Agent if (i) Agent has consummated any Sale on behalf of POMP or its affiliates
          without PDMP's prior consent as required by this Agreement; (ii) Agent is in uncured material breach
          of this Agreement; (iii) Agent has consummated any negotiations with any prospect regarding rights or
          territory reserved to POMP according to Paragraph 2 (e) of this Agreement without POMP's prior
          consent; or (iv) Agent has been compensated for or in connection with Sales other than as
          expressively provided by this Agreement (except in the case noted in paragraph 6(a)). Unless
          otherwise stated hereunder, the following provisions of this Agreement shall survive its expiration or
          termination: Paragraphs 3, 5(c), 6, 9, 10 and 13 through 16. Agent shall have the right to terminate
          this Agreement only in the event of: (i) an uncured material breach on the part of POMP; and (ii) if the
          Channels cease to broadcast for a period of Thirty (30) consecutive days that is not due to a force
          majeure event For clarification purposes, in case of termination of this Agreement either by PDMP or
          by Agent, Agent's entitlement for payments shall remain for the entire period of each agreement(s)
          made through the Agent during the Term or other payments as so specifically provided for in
          subparagraph 3(c) of this Agreement. Notwithstanding the foregoing, no Commissions or payments
          due Agent shall be payable in any manner under this Agreement following the event of the suicide of
          Wauters (that is medically or legally documented).

      (b) With regard to the cure period for a material breach, either party may terminate this Agreement by
          written notice and effective on the date set forth therein only if the other party is in material breach of
          any obligation (i.e .. "material breach") contained in this Agreement and such breach has not been
          cured within thirty (30) days after receipt of written notice to cure the same.
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 PDMP NOA Sales Agent Agrccrnt:nl PH FINAL 9-30-10
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      (c) A "force majeure event" shall include, without limitation, conditions or circumstances beyond PDMP's
          control including, but not limited to acts of God, government restriction, wars, insurrections, fire, flood,
          earthquake, storm, hurricane or other natural disasters, war, invasion, act of foreign enemies, acts of
          terrorism, hostilities regardless of whether war is declared, civil war, rebellion, revolution, insurrection,
          military or usurped power or confiscation, terrorist activities, nationalization, government sanction,
          blockage, embargo, labor dispute, strike, lockout or interruption or failure of electricity or telephone
          services.

  13. NOTICES: Any notice which a party hereto is required     to give or may desire to give in connection with this
      Agreement shall be in writing and delivered by hand and deemed given upon receipt; by an overnight
      delivery service recognized in the U.S. and deemed given two (2) days after due deposit therewith; or by
      telecopy and deemed given upon recipient's confirmation of receipt, addressed as follows (or to other
      coordinates a recipients party has specified in writing by giving notice thereof}:

  lfto Agent:                                               lfto POMP:

  NOA Productions                                           Penthouse Digital Media Productions Inc.
  Avenue Montjoie, 84                                       6800 Broken Sound Parkway NW, Suite 200
  1180 Brussels -Belgium                                    Boca Raton, FL 33487
  Attention: Jacky Wauters                                  Attn: General Counsel
  Tel: +32.2.375.99.01                                      Tel: (561) 912-7000
  Fax: +32.2.375.12.88.                                     Fax (561) 912- 7038

  With a courtesy copy (which shall not constitute notice to):

  Penthouse Digital Media Productions Inc.
  1974 9 Dearborn Street
  Chatsworth, CA 91311
  USA
  Attention: Legal
  Tel: (310)280-1950
  Fax:(310) 280-1938

  14. SEVERABILITY/SAVINGS: If any provision of this Agreement is held by a court of competent jurisdiction
      to be invalid, void, or unenforceable, the remaining provisions shall have nevertheless continue in full force
      without being impaired or invalidated in any way. However, before severing any such illegal provision,
      such court may modify it to the extent necessary to render it enforceable at law or in equity.

  15. CHOICE OF LAW: CHOICE OF FORUM: SERVICEOF PROCESS: This Agreement shall be governed by
      the laws of the State of New York applicable to agreements made and wholly performed therein. All claims
      arising under or otherwise relating to this agreement shall be brought only in the courts residing in the
      State of New York, New York City (and courts taking appeals wherefrom). Each party waives all objections
      to such venue and consent to personal jurisdlctlon of such courts for purposes of this Agreement. Any
      eervice of legal process in any such action or proceeding may, among other methods, be served upon
      Agent by delivering it or mailing it, by registered or certified mail, or by recognized international courier,
      addressed to it at the notice address then designated by it in Paragraph 13, and such service shall be
      deemed to have the same force and effect as personal service within the State of New York.

 16. GENERAL PROVISIONS: Except as provided expressively herein, this Agreement represents the entire
     agreement between both parties, and no changes. alterations or deviation shall be recognized as valid
     unless such changes, alterations or deviations have been modified embodied in a new and superseding
     written agreement signed by both parties. Each party to this Agreement acknowledges that no
     representations, inducement, promises or agreements, oral or otherwise, with regard to the relationship
     between the parties have been made by any party, or anyone acting on behalf or any party, which are not
     embodied herein and that no other agreement, statement or promise regarding performance of services
     not contained in this Agreement shall be valid orbinding regarding the subject matter of this Agreement.
     This Agreement cannot be amended other than by a written instrument executed by both parties. This
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      Agreement may be executed via facsimile and in one or more counterparts, each of which shall be
      deemed an original, but all of which together shall constitute one and the same instrument. Failure by
      either party to insist on performance by the other of any term or obligation of this Agreement shall not be
      construed as a waiver of that party's right to demand such performance at a later time. Captions and
      headings in this Agreement are for convenience and do not alter the terms of this Agreement in any way.

  IN WITNESS WHEREOF, each party has executed this Agreement via a duly authorized representative
  intending to be bound legally thereby.

                                                   PENTHOUSE DIGITAL MEDIA PRODUCTIONS INC.




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                                                      EXHIBIT"A"
                                                   EXCEPTED PARTIES


 Any Gay, Lesbian, Transsexual, Transgender and/or mixed genres (ie Gay with Hetero) of any such related
 adult or lifestyle content (linear and non-linear and other exploitation forms).




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               EXHIBIT ''B"




               EXHIBIT "B"
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                                                                                EUR               USD                NOA25%EUR        NOA25% USD
January 2018
Cash Receptions from identified carriages on account # EWB-0448                     18,246.74 €                          4,561.69 €
Cash Receptions from un-identified carriages on account# EWB-3852                  257,873.22 €                         64,468.31 €
Cash Receptions from identified carriages on account# EWB-3852                     119,513.51 €                         29,878.38 €


February 2018
Cash Receptions from identified carriages on account# EWB-0448                     104,803.22 €                         26,200.81 €
Cash Receptions from un-identified carriages on account# EWB-3852                                 $      20,896.38                    $      5,224.10
Cash Receptions from identified carriages on account# EWB-3852                                    $     142,110.37                    $   35,527.59


March 2018
Cash Receptions from identified carriages on account# EWB-0448                     129,417.60€    $      14,278.40      32,354.40 €   $      3,569.60
Cash Receptions from un-identified carriages on account# EWB-3852                                 $     215,543.59                    $   53,885.90




April 2018
Cash Receptions from identified carriages on account# EWB-0448                     116,892.71 €                         29,223.18 €
Cash Receptions from un-identified carriages on account# EWB-3852                  161,530.39 €                         40,382.60 €
Cash Receptions from identified carriages on account# EWB-3852                      55,541.08 €                         13,885.27 €




May 2018
Cash Receptions from identified carriages on account # EWB-0448                    208,138.33 €                         52,034.58 €
Cash Receptions from un-identified carriages on account# EWB-3852                                 $     291,447.78                    $   72,861.95
Cash Receptions from identified carriages on account# EWB-3852                                    $      26,729.02                    $      6,682.26




June 2018 : No info recived
Cash Receptions from identified carriages on account# EWB-0448                      79,970.08 €                         19,992.52 €
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Cash Receptions from un-identified carriages on account# EWB-3852                                     $    127,238.85                    $    31,809.71
Cash Receptions from identified carriages on account# EWB-3852                                        $     41,117.57                    $    10,279.39




July 2018
Cash Receptions from identified carriages on account # EWB-0448                        93,356.34 €                         23,339.09 €
Cash Receptions from un-identified carriages on account# EWB-3852                                     $    117,551.81                    $    29,387.95
Cash Receptions from identified carriages on account# EWB-3852                                        $      11,066.58                   $      2,766.65




August 2018
Cash Receptions from identified carriages on account# EWB-0448                         51,857.82€                          12,964.46 €
Cash Receptions from un-identified carriages on account# EWB-3852                                     $      74,949.47                   $    18,737.49
Cash Receptions from identified carriages on account# EWB-3852                                        $      10,846.86                   $      2,711.72




Total of Un-identified Carriages Revenues FX-FCDDA                                    419,403.61 €    $    847,627.88     104,850.90 €   $   211,906.97
Totals of Cash Receptions ofldentified Carriages on Accounts EWB-0448 and EWB-3852    977,737.43 €    $    246,148.80     244,434.36 €   $    61,537.20
Grand Totals identified + non-identified carriages                                   1,397,141.04 €   $   1,093, 776.68   349,285.26 €   $   273,444.17
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               EXHIBIT "C"




               EXHIBIT "C"
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Contracts PENTHOUSE I NOA PRODUCTIONS
Question 2             Contracts closed by NOA PRODUCTIONS
Name                   Country              Business terms                                          Terms    Automatic renewal                                                         New Terms and Business terms
BELGACOM/SKYNET        Belgium              0,90€/sub/month + 30% for TVOD                          2 year   I year periods                                                            same business terms

NUMERICABLE/CODITEL    Belgium/Luxembourg   0,050€/sub/month                                        3 year   I year periods                                                            0,053E/sub/month

TELENET                Belgium              200K€ YI, 225KE Y2, 225K€ Y3                            3 year   No                                                                        I year, 225KE/year

BULSATCOM              Bulgaria             72 KE YI, 78KE Y2, 84K€ Y3, 90KE Y4                     4 Year   3 year periods                                                            90KE/year

BLIZOO                 Bulgaria             12KE/year                                               3 Year   No, deal terminated in January 2017                                       I

ELECTRA                Croatia              40KE YI, SOK€ Y2, 60K€ Y3                               3 Year   No                                                                        3 year, 30KE/year

PRIMETEL               Cyprus               Rev-Share: 65%(PENTHOUSE) - 35% (PRIMETEL)              3 Year   No (we never got paid by this platform), deal terminated in August 2013   I

ELION                  Estonia              75KE YI, 80K€ Y2, IOOKE Y3                              3 year   No                                                                        3 year, 50K€/year

BOUYGUES TELECOM       France               270KE YI, 290KE Y2, 345KE Y3                            3 Year   No                                                                        3 year, l80KE YI, 200KE Y2, 220KE Y3

ORANGE                 France               50% Rev-Share I VOD: 3K€/title                          3 Year   No                                                                        3 year, 144KE/year

CANAL+                 France               250KE/year                                              3 Year   No                                                                        3 year, 250K€/year

CANAL OVERSEAS         France               250KE/year                                              3 Year   No                                                                        3 year, 300KE YI, 315K€ Y2, 330KE Y3

SFR                    France               350KE YI, 400KE Y2 (VOD: 2.500€/title)                  2 Year   No, deal terminated in 2014                                               I

FREE                   France               500K€/year                                              3 Year   No                                                                        3 year, 250KE/year

NUMERICABLE            France               2,50€/sub/month + 50/50 RevShare for VOD                3 Year   I year periods                                                            same business terms
LOCATEL                France               Hard SD movie: l .5KE/title, Soft SD title: IKE/title   5 year   No, deal terminated in June 2014                                          I

DTAG                   Germany              0, 12€/sub/month for SD - 0,25€/sub/month for HD        3 year   I year periods                                                            same business tenns

KABEL DEUTSCHLAND      Germany              VOD: 40% for HD, 30% for SD and 50% 3D                  3 year   I year periods                                                            same business tenns
UNTYMEDIA              Germany              320KE/year                                              3 year   I year periods                                                                0.065€/sub/month (SD+HD)
OTE                    Greece               0, 70€/sub/month                                        3 Year   I year periods                                                                0,20€/sub/month

PR TELECOM             Hungary              3 different cps/packs: 0,05€-0,07€-0,30€/sub/month      3 year   Yes, but deal terminated in December 2014                                 I

HOT                    Israel               30% Rev Share for SD and 40% Rev Share for HD           2 Year   No                                                                        2 year, same business tenns
SKY ITALIA             Italy                10% rev share pour la chalne, 10% pour la VOD           2year    No                                                                        1 year, same business terms

TANGO                  Luxembourg           0,90€/sub/month                                         3 year   I year periods                                                            same business terms

BLIZOO                 Macedonia            2,5KE YI, 3.6KE Y2, 6KE Y3                              3 year   No                                                                        3 year, 4.8KE YI, 6K€ Y2, 7.2KE Y3

MONACO TELECOM         Monaco               Rev-Share: 60% (PENTHOUSE) - 40% (MONACO TELEC( 3 year           3 year periods                                                            Rev-Share: 55% (PENTHOUSE) - 45% (MONACO TELECOM)

CAIW                   Netherlands          0, l 75€/sub/month                                      2 Year   No                                                                        2 year, 0,055€/sub/month
VODAFONE NETHERLANDS   Netherlands          HD: 50% Rev-Share - SD: 35% Rev-Share                   3 year   No                                                                        2 year, same business tenns

KPN                    Netherlands          0,475E/sub/month for SD, 0, 725E/sub/month for HD       2 year   No, deal terminated in July 2015                                          I
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ZIGGO                        Netherlands    300K€/year                                              3 year    No                                                        2 year, IOOK€/year

VIASAT                       Nordics        510K€/year (channels) VOD: 2K€/soft movie, 2,5K€/hard mo 4 Year   No, deal terminated in March 2016                         I

NORWEGIAN                    Norway         21.600$/year (24 titles)                                 l year   No, deal terminated in 2015                               I

ROMTELECOM/TELEKOM ROMANIA   Romania        0,08€/sub/month                                         2 year    No (deal terminated in 2015 /Restart in 2017)             2 year, 0,03€sub/month I VOD: 50/50

SKYLINK/M7                   CZ/Slovakia    125K€ Yl, 150K€ Y3, l 75K€ Y3                           3 year    No                                                        2 year, 100K€/year

DIGITURK                     Turkey         225,350K€ YI, 171,925K€ Y2, 175K€ Y3 - VOD: 25K€ Yl, 3 year       No, deal terminated in January 2017 (political reasons)   I

DSMART                       Turkey         350K€ YI, 400K€ Y2, 400K€ Y3                            3 year    No                                                        3 year, 500K€/year
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                                                                                                     CHAPTER: 7

                                                                                                     CASE NUMBER: 1:18-bk-10098-MB
                                                                                       Debtor(s).


                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 3435
Wilshire Blvd., Ste. 990, Los Angeles, CA 90010.

A true and correct copy of the foregoing document entitled (specify): Request for Allowance of Administrative Claim
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 19, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

Keith Patrick Banner kbanner@greenbergglusker.com, sharper@greenbergglusker.com
Ron Bender rb@lnbyb.com
Stephen F Biegenzahn      efile@sfblaw.com
Paul M Brent snb300@aol.com
Linda F Cantor    lcantor@pszjlaw.com, lcantor@pszjlaw.com
Carol Chow carol.chow@ffslaw.com
Russell Clementson     russell.clementson@usdoj.gov
Joseph Corrigan     Bankruptcy2@ironmountain.com
Brian L Davidoff bdavidoff@greenbergglusker.com, calendar@greenbergglusker.com; jking@greenbergglusker.com

                                                                       ~Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) October 19, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Penthouse Global Media, Inc.
8944 Mason Ave.
Chatsworth, CA 91311                                                                   D    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 19, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours afterthe document is
filed.

United States Bankruptcy Court
Central District of California Honorable Martin R. Barash
21041 Burbank Boulevard, Suite 342 I Courtroom 303
Woodland Hills, CA 91367                                                               D    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 19. 2018                   Danielle M. Landeros                                            Isl Danielle M. Landeros
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                             F 9013-3.1.PROOF.SERVICE
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                                                                                                    CHAPTER: 7

                                                                                                    CASE NUMBER: 1:18-bk-10098-MB
                                                                                       Debtor(s).



James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
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Allan B Gelbard xxxesq@aol.com, Allan@Gelbardlaw.com
David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
dgottlieb@iq7tech no logy. com, rjoh nson@dkgal le. com ,aku ras@d kgallc. com
Mirco J Haag mhaag@buchalter.com, dcyrankowski@buchalter.com; docket@buchalter.com
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Cathy Ta cathy.ta@bbklaw.com, paul.nordlund@bbklaw.com; sansanee.wells@bbklaw.com
United States Trustee (SV)      ustpregion16.wh.ecf@usdoj.gov
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Marc J Winthrop mwinthrop@wcghlaw.com, pj@wcghlaw.com; jmartinez@wcghlaw.com
Christopher K.S. Wong       christopher.wong@arentfox.com
Beth Ann R Young       bry@lnbyb.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
